                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

HealthPRO Heritage, LLC, and Rehab             )
Solutions (North Carolina), LLC,               )
                                               )
         Plaintiffs,                           )
                                               )    Case No. 1:19-cv-143
v.                                             )
                                               )     NON-JURY
Health Services Manchester, LLC, d/b/a         )
Horizon Health & Rehab Center;                 )
Knoxville Healthcare, LLC, d/b/a               )
Westmoreland Health and Rehab;                 )
Benchmark Healthcare of Dane County,           )
Inc. d/b/a Heartland Country Village;          )
Madisonville Healthcare, LLC, d/b/a            )
Madisonville Health and Rehab;                 )
Waynesboro Healthcare, LLC, d/b/a              )
Waynesboro Health and Rehab Center;            )
Hidden Acres Healthcare, LLC, d/b/a Mt.        )
Pleasant Health and Rehab Center; and          )
Health Services Management Group,              )
LLC,                                           )
                                               )
         Defendants.
                                               )




                                        COMPLAINT

         COME NOW Plaintiffs, HealthPRO Heritage, LLC, and Rehab Solutions (North

Carolina), LLC (collectively, “Heritage” or “Plaintiffs”), by and through counsel, and for their

Complaint against the Defendants, Health Services Manchester, LLC, d/b/a Horizon Health &

Rehab Center; Knoxville Healthcare, LLC, d/b/a Westmoreland Health and Rehab; Benchmark

Healthcare of Dane County, Inc., d/b/a Heartland Country Village; Madisonville Healthcare,

LLC, d/b/a Madisonville Health and Rehab; Waynesboro Healthcare, LLC, d/b/a Waynesboro

Health and Rehab Center; Hidden Acres Healthcare, LLC, d/b/a Mt. Pleasant Health and Rehab




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Center; and Health Services Management Group, LLC (collectively, the “Defendants”), allege

and state as follows:

                                         I. THE PARTIES

         1.        Plaintiff HealthPRO Heritage, LLC, is a limited liability company formed in

South Carolina, with its principal office located at 307 International Circle Suite 100, Hunt

Valley, Maryland 21030. The sole member of HealthPRO Heritage, LLC, is a resident and

citizen of the State of Delaware.

         2.        Plaintiff Rehab Solutions (North Carolina), LLC, is a limited liability company

formed in North Carolina, with its principal office located at 536 Old Howell Road, Greenville,

South Carolina 29615. The sole member of Rehab Solutions (North Carolina), LLC, is a resident

and citizen of the State of Delaware. Rehab Solutions (North Carolina), LLC, is successor-in-

interest under the Service Agreements (as defined supra) and Settlement Agreements (as defined

supra) to Rehab Solutions, Inc., a terminated Tennessee corporation.

         3.        Defendant Health Services Manchester, LLC, d/b/a Horizon Health & Rehab

Center is a non-profit Tennessee limited liability company. Upon information and belief, the

sole member of Health Services, Manchester, LLC, is a resident and citizen of the State of

Tennessee.

         4.        Defendant Knoxville Healthcare, LLC, d/b/a Westmoreland Health and Rehab, is

a non-profit Tennessee limited liability company. Upon information and belief, the sole member

of Knoxville Healthcare, LLC is a resident and citizen of the State of Tennessee.

         5.        Defendant Benchmark Healthcare of Dane County, Inc. d/b/a Heartland Country

Village, is a Wisconsin non-stock corporation with its principal address listed as 114 Stuart Road

NE # 305, Cleveland, Tennessee 37312-4803.




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         6.        Defendant Madisonville Healthcare, LLC, d/b/a Madisonville Health and Rehab,

is a Tennessee non-profit limited liability company. Upon information and belief, the sole

member of Madisonville Healthcare, LLC is a resident and citizen of the State of Tennessee.

         7.        Defendant Waynesboro Healthcare, LLC, d/b/a Waynesboro Health and Rehab

Center, is a non-profit Tennessee limited liability company. Upon information and belief, the

sole member of Waynesboro Healthcare, LLC, is a resident and citizen of the State of Tennessee.

         8.        Defendant Hidden Acres Healthcare, LLC, d/b/a Mt. Pleasant Health and Rehab

Center, is a non-profit Tennessee limited liability company. Upon information and belief, the

sole member of Hidden Acres Healthcare, LLC, is a resident and citizen of the State of

Tennessee.

         9.        Defendant Health Services Management Group, LLC, is a Tennessee limited

liability company.        Upon information and belief, the two members of Health Services

Management Group, LLC, are residents and citizens of the State of Tennessee.

         10.       The registered agent for each of the Defendants, except Benchmark Healthcare of

Dane County, Inc., d/b/a Heartland Country Village, is Thomas D. Johnson, 485 Central Avenue

NE, Cleveland, Tennessee 37311-5541.

         11.       The registered agent for Defendant, Benchmark Healthcare of Dane County, Inc.,

d/b/a Heartland Country Village, is CT Corporation System, is 301 S. Bedford Street, Suite 1,

Madison, Wisconsin 53703.

         12.       The principal place of business for each of the Defendants, except Benchmark

Healthcare of Dane County, Inc., d/b/a Heartland Country Village, is 485 Central Avenue,

Cleveland, Tennessee 37311-5541.




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         13.       The principal place of business for Defendant, Benchmark Healthcare of Dane

County, Inc., d/b/a Heartland Country Village, is 114 Stuart Road NE, 305 Cleveland, Tennessee

37312.

                                  II. JURISDICTION AND VENUE

         14.       This Court has personal jurisdiction over the Defendants because they reside and

regularly transact business within the State of Tennessee.

         15.       This Court has subject matter jurisdiction to entertain this action under 28 U.S.C.

§ 1332, because there is complete diversity of citizenship between Plaintiffs and Defendants

(collectively, the “Parties”), and the amount in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs.

         16.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to the claim occurred in this judicial

district.

         17.       This matter is appropriate for a bench trial in that Defendants waived their right to

a jury trial by virtue of the Settlement Agreements (as defined supra).

                                               III. FACTS

         18.       Plaintiffs and Defendants entered into Service Agreements along with

amendments thereto (collectively the “Service Agreements”) pursuant to which Plaintiffs

provided rehabilitation therapy services (“Services”) to the facilities owned and operated by

Defendants (collectively, the “Facilities”).

         19.       Defendants were obligated to compensate Plaintiffs for such Services provided

under the Service Agreements.




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         20.       Pursuant to that certain Settlement Agreement dated April 5, 2017 (“Settlement

Agreement”), the Defendants agreed that previously accrued indebtedness evidenced by the

Service Agreements was in default, and that the default balance referenced in the Settlement

Agreement is fully enforceable and is not subject to any defense or counterclaim, or to any claim

of setoff, recoupment, offset or deduction. A true executed copy of the Settlement Agreement is

attached as Exhibit A and incorporated herein by this reference.

         21.       Health Services Management Group, LLC (“Guarantor”), guaranteed the default

balance (“Default Balance”) in the Settlement Agreement.

         22.       Prior to April 19, 2018, Defendants defaulted on certain monthly payment

required by the Settlement Agreement, among other defaults.

         23.       As such, on April 19, 2018, Plaintiffs filed a Complaint and Motion for

Temporary Restraining Order and Request for Temporary Injunction as to the Defendants,

among other entities, who defaulted under the Settlement Agreement (the “First Lawsuit”).

         24.       On April 26, 2018, the Parties entered and the Court approved the entry of an

agreed order (the “Agreed Order”) whereby, among other things, the Parties agreed that

Defendants were in default for certain indebtedness owed to Plaintiffs, and Defendants were

required to pay a certain amount due from Defendant to Plaintiff. A true copy of the Agreed

Order is attached as Exhibit B and incorporated herein by this reference.

         25.       On April 27, 2018, following the entry of the aforementioned Agreed Order,

Plaintiffs submitted its Notice of Voluntary Dismissal with the Court as to the First Lawsuit.

         26.       Pursuant to the Settlement Agreement, the Agreed Order, and the Service

Agreements, the Settlement Agreement remains in full force and effect following the dismissal

of the First Lawsuit.




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         27.       Plaintiffs have continued to provide current services to Defendants from January

1, 2019, through May 6, 2019, pursuant to the Service Agreements (the “Current Services”).

True and correct copies of the Service Agreements are attached as Exhibit C and incorporated

herein by this reference.

         28.       Pursuant to Section 3 of the Settlement Agreement, Defendants agreed to make

timely payments to Plaintiffs for the Current Services invoices within sixty (60) days of the dates

of the invoice.

         29.       Defendants failed to make payments to Plaintiffs under the Service Agreements

for Current Services, thus defaulting under the respective Service Agreements as well as

defaulting under the various Service Agreements.

         30.       Plaintiffs accelerated the Default Balance (as defined supra) pursuant to written

Demand Letters dated March 5, 2019 and May 3, 2019.

         31.       Despite written notices from Plaintiffs, Defendants did not and have not cured the

default on the Current Services and the Default Balance remains outstanding.

         32.       Pursuant to the Settlement Agreement, upon Defendants’ default and without

further notice, the Defendants agreed that Plaintiffs are entitled to complete and file the Consent

Judgment attached to the Settlement Agreement (the “Consent Judgment”) with a court of

competent jurisdiction, and to take any other actions necessary to enforce their rights.

         33.       Under the Settlement Agreement, each Defendant is jointly and severally liable

for the Default Balance.

         34.       As of May 8, 2019, under the Current Services Agreement, Defendant, Health

Services Manchester, LLC, d/b/a Horizon Health & Rehab Center, has a default balance of

$73,962.78.




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         35.       As of May 8, 2019, under the Current Services Agreement, Defendant, Knoxville

Healthcare, LLC, d/b/a Westmoreland Health and Rehab has a default balance of $213,776.71.

         36.       As of May 8, 2019, under the Current Services Agreement, Defendant,

Benchmark Healthcare of Dane County, Inc., d/b/a Heartland Country Village, has a default

balance of $38,758.18.

         37.       As of May 8, 2019, under the Current Services Agreement, Defendant,

Madisonville Healthcare, LLC, d/b/a Madisonville Health and Rehab, has a default balance of

$113,440.13.

         38.       As of May 8, 2019, under the Current Services Agreement, Defendant,

Waynesboro Healthcare, LLC, d/b/a Waynesboro Health and Rehab Center, has a default

balance of $36,299.64.

         39.       As of May 8, 2019, under the Current Services Agreement, Defendant, Hidden

Acres Healthcare, LLC, d/b/a Mt. Pleasant Health and Rehab Center, has a default balance of

$57,267.05.

         40.       The combined default balance for the Defendants totals $533,504.79 (the “Default

Balance”).

         41.       Additional amounts due for Current Services provided continue to accrue for each

Defendant and become due on owing under the Service Agreements and the Settlement

Agreement on future dates, including but not limited to, May 30, 2019, June 30, 2019, and July

30, 2019.

         42.       Pursuant to Section 7 the Settlement Agreement and paragraph 10 of the Service

Agreements, Plaintiffs are entitled to seek and Defendants shall pay Plaintiffs’ reasonable

attorneys’ and legal expenses.




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                                  V. FIRST CLAIM FOR RELIEF
                                      (Declaratory Judgment)

         43.       Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 42.

         44.       The Settlement Agreement is a valid and enforceable contract, and sets forth the

rights of Plaintiffs with regard to the agreed damages, judgment and award against the

Defendants.

         45.       In final resolution of any controversy between Plaintiffs and Defendants relating

to the Settlement Agreement, Plaintiffs are entitled to a declaration of their rights against

Defendants as follows:

                          (a)    The Settlement Agreement is a valid contract, enforceable against
                                 Defendants in accordance with their respective terms;

                          (b)    Defendants are liable to Plaintiffs for the amounts stated in the
                                 Consent Judgment as completed by Plaintiffs;

                          (c)    Defendants have no claims, counterclaims, setoffs or defenses
                                 against Plaintiffs relating to the Settlement Agreement;

                          (d)    Plaintiffs are entitled to a judgment for the amounts set forth in the
                                 Consent Judgment as completed by Plaintiffs, in their favor against
                                 Defendants, with such Consent Judgment to accrue interest after
                                 entry at the maximum rate allowed by law until paid in full; and

                          (e)    Plaintiffs are entitled to judgment against Defendants for all of
                                 their attorneys’ fees and costs associated with collecting the
                                 indebtedness, and enforcing the Settlement Agreement, all as to be
                                 shown by an affidavit of counsel for Plaintiffs to be filed with the
                                 Court.

         WHEREFORE, Plaintiffs request that the Court enter an Order declaring that:

         A.        The Settlement Agreement is a valid contract, enforceable against the Defendants

in accordance with their respective terms;




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         B.        The Defendants are liable to Plaintiffs for the amounts set forth in the Consent

Judgment as completed by Plaintiffs;

         C.        The Defendants have no claims, counterclaims, setoffs or defenses against

Plaintiffs relating to the Settlement Agreement;

         D.        Plaintiffs are entitled to judgment and award of the amounts set forth in the

Consent Judgment with interest to accrue after entry at the maximum rate allowed by law until

paid in full;

         E.        Plaintiffs are entitled to judgment and award of all of their attorneys’ fees and

costs associated with collecting the default balance; and

         F.        Plaintiffs shall have and receive any other relief as may be granted by the Court.

                                 VI. SECOND CLAIM FOR RELIEF
                                        (Breach of Contract)

         46.       Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 45.

         47.        Defendants have failed to make timely payments to Plaintiffs for current services

provided to Defendants from January 1, 2019, through May 8, 2019, pursuant to a certain

Services Agreement as required under the Settlement Agreement. Accordingly, Defendants have

defaulted and are in material breach of the Settlement Agreement.

         48.       Because of Defendants’ default, Plaintiffs have suffered damages.

         WHEREFORE, Plaintiffs request that the Court enforce the Settlement Agreement, enter

the Consent Judgment as completed by Plaintiffs in their favor and against Defendants, award

Plaintiffs their reasonable attorneys’ fees and costs associated with exercising their rights under

the Settlement Agreement, and award such further and other relief as the Court may deem just

and proper.



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                                   VI. THIRD CLAIM FOR RELIEF
                                         (Breach of Contract)

          49.       Plaintiffs re-allege and incorporate by reference the allegations contained in

 paragraphs 1 through 48.

          50.        Defendants have failed to make timely payments to Plaintiffs for current services

 provided to Defendants from January 1, 2019, through May 8, 2019, pursuant to a certain

 Services Agreement (“Services Agreements”) as required under those Service Agreements.

 Accordingly, Defendants have defaulted and are in material breach of the Service Agreements.

          51.       Because of Defendants’ default, Plaintiffs have suffered damages.

          WHEREFORE, Plaintiffs request that the Court enforce the Services Agreements, award

 Plaintiffs their attorneys’ fees and costs associated with exercising their rights under the Services

 Agreement, and award such further and other relief as the Court may deem just and proper.

          This the 10th day of May, 2019.

                                                         Respectfully submitted,
                                                         HUSCH BLACKWELL LLP
                                                  By:    /s/ Michael K. Alston
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